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                                            UNITED STATES DISTRICT COURT
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                                                 DISTRICT OF NEVADA
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 6
     UNITED STATES OF AMERICA,                            )
 7                                                        )
                               Plaintiff,                 )           Case No. 2:12-cr-084-MMD-GWF
                                                          )
 8                    vs.                                 )           ORDER MODIFYING BOND
                                                          )
 9   JOHN HOLSHEIMER,                                     )
                                                          )
10                        Defendant.                      )
     ____________________________________)
11           The Court conducted a hearing on the Petition for Action on Conditions of Pretrial Release (Docket #89)
12   on April 18, 2013, and modified Defendant’s Appearance Bond (Docket #33) as follows:

13           IT IS ORDERED that the defendant shall participate in mental health counseling on Mondays and

     Fridays, substance abuse counseling on Wednesdays, and shall submit to periodic drug testing at least three times
14
     per week as directed by Pretrial Services. Any variation from this schedule must be preauthorized by Pretrial
15
     Services.
16
             IT IS FURTHER ORDERED that Mr. Holsheimer shall pay all or part of the costs of mental health and
17   substance abuse counseling and drug testing based upon his ability to pay as the Pretrial Services Officer

18   determines.

             IT IS FURTHER ORDERED that if the Defendant tests positive for unauthorized drug use, he has
19
     waived his right to contest such findings and will submit to detention without contesting the issue of detention.
20
             IT IS FURTHER ORDERED that all other conditions of the Appearance Bond (Docket #33) previously
21
     imposed remain in full effect.
22
                                                                                   19th
23                                                                    DATED this          day of April, 2013.

24
                                                                      ___________________________________
25                                                                    C. W. HOFFMAN, JR.
                                                                      United States Magistrate Judge
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